             Case 2:14-cv-01244-CRE Document 1 Filed 09/12/14 Page 1 of 6



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA

                                                :
Kimberly Bowie,                                 :
                                                  Civil Action No.: ______
                                                :
                        Plaintiff,              :
       v.                                       :
                                                :
Ally Financial, Inc.; and DOES 1-10, inclusive, :
                                                  COMPLAINT
                                                :
                        Defendant.              :
                                                :
                                                :

        For this Complaint, the Plaintiff, Kimberly Bowie, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”).

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        4.      The Plaintiff, Kimberly Bowie (“Plaintiff”), is an adult individual residing in

McKeesport, Pennsylvania, and is a “person” as defined by 47 U.S.C. § 153(39).

        5.      The Defendant, Ally Financial, Inc. (“Ally”), is a Delaware business entity with

an address of 200 Renaissance Center, P.O. Box 200, Detroit, Michigan 48265-2000, and is a

“person” as defined by 47 U.S.C. § 153(39).
             Case 2:14-cv-01244-CRE Document 1 Filed 09/12/14 Page 2 of 6



        6.      Does 1-10 (the “Agents”) are individual employees and/or agents employed by

Ally and whose identities are currently unknown to the Plaintiff. One or more of the Agents may

be joined as parties once their identities are disclosed through discovery.

        7.      Ally at all times acted by and through one or more of the Agents.

                                              FACTS

        8.      Within the last year, Ally began placing calls to Plaintiff’s cellular telephone in an

attempt to collect a consumer debt allegedly owed by Plaintiff.

        9.      At all times mentioned herein, Ally placed calls to Plaintiff’s cellular telephone

724-xxx-4322 by using an automated telephone dialer system (“ATDS”) and/or by using an

artificial or prerecorded voice.

        10.     When Plaintiff answered calls from Ally, she experienced a brief period of silence

before a live representative would come on the line.

        11.     During a conversation with Ally on or around July 23, 2014, Plaintiff explained

that she could not afford to pay the debt at that time and requested that Ally cease all calls to

Plaintiff’s cellular telephone.

        12.     Plaintiff had a previous business relationship with Ally and had originally

provided her cellular telephone number to be reached.

        13.     However, Ally no longer had consent to place calls to Plaintiff after being

requested to cease all calls.

        14.     Regardless, Ally continued to place calls to Plaintiff’s cellular telephone knowing

that it lacked consent to do so.




                                                  2
          Case 2:14-cv-01244-CRE Document 1 Filed 09/12/14 Page 3 of 6



                                 COUNT I
       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                           47 U.S.C. § 227, et seq.

       15.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       16.     At all times mentioned herein and within the last four years, Defendants called

Plaintiff on her cellular telephone using an ATDS or predictive dialer and/or by using a

prerecorded or artificial voice.

       17.     In expanding on the prohibitions of the TCPA, the Federal Communications

Commission (FCC) defines a Predictive Dialer as “a dialing system that automatically dials

consumers’ telephone numbers in a manner that “predicts” the time when a consumer will

answer the phone and a [representative] will be available to take the call…”2003 TCPA Order,

18 FCC 36 Rcd 14022. The FCC explains that if a representative is not “free to take a call that

has been placed by a predictive dialer, the consumer answers the phone only to hear ‘dead air’ or

a dial tone, causing frustration.” Id. In addition, the TCPA places prohibitions on companies that

“abandon” calls by setting “the predictive dialers to ring for a very short period of time before

disconnecting the call; in such cases, the predictive dialer does not record the call as having been

abandoned.” Id.

       18.     Ally’s telephone systems have earmarks of a Predictive Dialer. Often times when

Plaintiff answered the phone, she was met with a period of silence before Ally’s telephone

system would connect her to the next available representative.

       19.     Upon information and belief, Ally’s Predictive Dialers have the capacity to store

or produce telephone numbers to be called, using a random or sequential number generator.




                                                 3
          Case 2:14-cv-01244-CRE Document 1 Filed 09/12/14 Page 4 of 6



       20.     Ally continued to place automated calls to Plaintiff’s cellular telephone after

being advised multiple times not to call and knowing there was no longer consent to continue the

calls. As such, each call placed to Plaintiff was made in knowing and/or willful violation of the

TCPA, and subject to treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).

       21.     The telephone number called by Ally was assigned to a cellular telephone service

for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

       22.     The calls from Ally to Plaintiff were not placed for “emergency purposes” as

defined by 47 U.S.C. § 227(b)(1)(A)(i).

       23.     As a result of each call made in negligent violation of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call in violation of the TCPA

pursuant to 47 U.S.C. § 227(b)(3)(B).

       24.     As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).


                                             COUNT II

              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       25.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       26.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”




                                                  4
          Case 2:14-cv-01244-CRE Document 1 Filed 09/12/14 Page 5 of 6



       27.        Pennsylvania further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus the Defendants violated Pennsylvania state law.

       28.        The Defendants intentionally intruded upon Plaintiff’s right to privacy by

continually harassing Plaintiff with the above referenced telephone calls.

       29.        The telephone calls made by the Defendants to Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

       30.        The conduct of the Defendants in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       31.        As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from the Defendants.

       32.        All acts of the Defendants and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, the Defendants are subject to punitive damages.

                                        PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

             1.       Statutory damages of $500.00 for each violation determined to be negligent

                      pursuant to 47 U.S.C. § 227(b)(1)(A);

             2.       Treble damages for each violation determined to be willful and/or knowing

                      pursuant to 47 U.S.C. § 227(b)(3)(C); and

             3.       Such other and further relief as may be just and proper.

                          TRIAL BY JURY DEMANDED ON ALL COUNTS



                                                     5
         Case 2:14-cv-01244-CRE Document 1 Filed 09/12/14 Page 6 of 6




Dated: September 12, 2014

                                    Respectfully submitted,

                                    By /s/ Jody B. Burton

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                                       6
